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                                                                                                      E-FILED
                                                                    Tuesday, 14 January, 2020 03:46:16 PM
                                                                             Clerk, U.S. District Court, ILCD


                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

 LARRY PIPPION, as Representative of  )
 the Estate of Larry Earvin,          )
                                      )                   Case No. 19 CV 3010
                           Plaintiff, )
                                      )                   Judge: Myerscough
 vs.                                  )
                                      )                   JURY DEMAND
 SGT. WILLIE HEDDEN, LT. BENJAMIN )
 BURNETT, LT. BLAKE HAUBRICH,         )
 CORRECTIONAL OFFICER ALEX            )
 BANTA, WARDEN CAMERON                )
 WATSON, ASSISTANT WARDEN             )
 STEVE SNYDER, and LT. TODD           )
 SHEFFLER, individually,

                                 Defendants.


     PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE A PROPOSED
                         AMENDED COMPLAINT

       NOW COMES the Plaintiff, Larry Pippion, by and through one of his attorneys, Ronak

Maisuria, and in support of Plaintiff’s Motion for Extension of Time to File a Proposed Amended

Complaint, states as follows:

   1. On December 10, 2019, Plaintiff filed his Motion for Leave to File his First Amended

       Complaint (Dkt. 56). The proposed amended complaint named Todd Sheffler as a new

       defendant given his recent indictment in connection with the beating death of Plaintiff’s

       decedent, Larry Earvin.

   2. Subsequent to filing his Motion for Leave to File his First Amended Complaint, the

       undersigned received voluminous documents from two IDOC correctional centers

       Plaintiff had issued subpoenas to in accordance with the Court’s order partially lifting the

       stay on discovery in this case. On December 18, 2019, the undersigned filed a motion for
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           leave to withdraw Dkt. 56 to allow for a complete review of the documents produced and

           preparation of a revised complaint naming additional parties, adding new claims, and

           including additional factual allegations based on information set forth in the discovery

           provided.

       3. In the December 18 filing, the undersigned indicated that Plaintiff anticipated filing a

           new motion for leave to file an amended complaint no later than January 14, 2020.

       4. As of the time of this filing, the undersigned has completed a review of the materials

           produced. However, the discovery produced contains documents with illegible signatures

           that need to be identified so that these individuals can be added as defendants. The

           undersigned has spoken with counsel for Defendants Watson and Snyder, Ms. Bautista,

           regarding this issue and has issued an interrogatory to the foregoing defendants seeking

           the identities of these individuals.

       5. As such, Plaintiff seeks an extension of time through February 13, 2020 1 to file a motion

           seeking leave to file an amended complaint so that the complaint can include all

           necessary defendants.

       6. This motion is not brought to cause undue delay.

       7. No party will be prejudiced by this motion.

       8. The undersigned contacted counsel for all Defendants regarding their position on this

           motion. As of the time of this filing, the undersigned has only received a response from

           Ms. Bautista, who indicated that she had no objection.

       WHEREFORE the Plaintiff prays that this Honorable Court grant his Motion for Extension

of Time to File a Proposed Amended Complaint.



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    Plaintiff will file his motion prior to this date should the Defendants’ interrogatory answer be received sooner.
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                                                    Respectfully submitted,
                                                    /s/ Ronak Maisuria


                               CERTIFICATE OF SERVICE


       Ronak Maisuria, a licensed attorney, states that on January 14, 2020 the foregoing
motion was served on all attorneys of record via ECF.

                                            /s/ Ronak Maisuria
Erickson & Oppenheimer, Ltd.
223 W. Jackson, Ste. 200
Chicago, IL 60606
312-327-3370
